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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3
   EMMET P. ONG (NYBN 4581369)
 4 Assistant United States Attorney

 5            1301 Clay Street, Suite 340S
              Oakland, California 94612-5217
 6            Telephone: (510) 637-3929
              Facsimile: (510) 637-3724
 7
              E-mail: emmet.ong@usdoj.gov
 8
     Attorneys for the UNITED STATES OF AMERICA
 9

10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                             SAN JOSE DIVISION

13
     IN RE:                               ) Case No.
14                                        )
                                          )
15   REQUEST FOR INTERNATIONAL JUDICIAL ) DECLARATION OF EMMET P. ONG
     ASSISTANCE FROM THE SEOUL NORTHERN )
16   DISTRICT COURT IN SEOUL, REPUBLIC OF )
     KOREA IN MATTER OF KIM JAEMO         )
17                                        )
                                          )
18                                        )
                                          )
19

20
              I, Emmet P. Ong, pursuant to 28 U.S.C. § 1746, declare as follows:
21
              1.     I am an Assistant United States Attorney in the Office of the United States Attorney for
22
     the Northern District of California, and counsel for the United States of America. I make this
23
     declaration upon personal knowledge as well as information and belief based upon the attached exhibits
24
     and communications with personnel in the U.S. Department of Justice (“DOJ”), to which a Letter of
25
     Request has been transmitted for execution. I make this declaration in support of the United States’ ex
26
     parte application, pursuant to 28 U.S.C. § 1782(a), for an order appointing me Commissioner for the
27

28
     DECLARATION OF EMMET P. ONG
     NO.                                              1
                Case 5:24-mc-80237-EJD Document 1-2 Filed 09/18/24 Page 2 of 25




 1 purpose of obtaining documents from Google LLC (“Google”). 1

 2             2.      In connection with a matter pending in the Seoul Northern District Court in Seoul,

 3 Republic of Korea (“Korea Court”), captioned Matter of Kim Jaemo, No. 2023KASO363902 (Foreign

 4 Reference No. 2024-F-1660), the Korea Court issued a Letter of Request seeking evidence from Google.

 5 Copies of the correspondence received from DOJ and the Letter of Request are attached hereto as

 6 Exhibit A. (Please note that the page numbers at the bottom right corner of each page in Exhibit A were

 7 added by me and were not in the original.)

 8             3.      The specific evidence requested by the Korea Court is reflected in a subpoena addressed

 9 to Google, which the United States intends to serve (in substantially similar form) upon my appointment

10 as Commissioner. A copy of the proposed subpoena is attached hereto as Exhibit B.

11             4.      On August 20, 2024, the United States sent a letter to Google requesting its voluntary

12 compliance with the Letter of Request. On August 30, 2024, the undersigned counsel for the United

13 States conferred with Google’s outside counsel, Baker & McKenzie LLP, who requested that the United

14 States serve a subpoena requesting the evidence sought by the Letter of Request.

15             5.      According to Google’s most recent corporate filing with the California Secretary of State,

16 a Statement of Information filed on September 7, 2023, Google’s principal office is located at 1600

17 Amphitheatre Parkway, Mountain View, California 94043. Mountain View is a city located in Santa

18 Clara County.

19

20   1
         Section 1782(a) provides, in pertinent part, as follows:
21             The district court of the district in which a person resides or is found may order him to give
               his testimony or statement or to produce a document or other thing for use in a proceeding
22             in a foreign or international tribunal, including criminal investigations conducted before
               formal accusation. The order may be made pursuant to a letter rogatory issued, or request
23
               made, by a foreign or international tribunal or upon the application of any interested person
24             and my direct that the testimony or statement be given, or the document or other thing be
               produced, before a person appointed by the court. By virtue of his appointment, the person
25             appointed has power to administer any necessary oath and take the testimony or statement.
               The order may prescribe the practice and procedure, which may be in whole or part the
26             practice and procedure of the foreign country or the international tribunal, for taking the
               testimony or statement or producing the document or other thing. To the extent that the
27
               order does not prescribe otherwise, the testimony or statement shall be taken, and the
28             document or other thing produced, in accordance with the Federal Rules of Civil Procedure.
     DECLARATION OF EMMET P. ONG
     NO.                                                 2
            Case 5:24-mc-80237-EJD Document 1-2 Filed 09/18/24 Page 3 of 25




 1         6.      To assist the Korea Court in obtaining the requested evidence, I respectfully request that

 2 this Court enter the proposed order attached to the application appointing me Commissioner.

 3         7.      To the best of my knowledge, no previous application for the relief sought herein has

 4 been made.

 5         I declare under penalty of perjury that the foregoing is true and correct. Executed on September

 6 18, 2024 in Contra Costa County, California.

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 8
                                                         EMMET P. ONG
 9                                                       Assistant United States Attorney
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     DECLARATION OF EMMET P. ONG
     NO.                                            3
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               Exhibit A
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                                                       U.S. Department of Justice
                                                       Civil Division
                                                       Office of International Judicial Assistance
KMStanford:lkj
______________________________________________________________________________
U.S. Central Authority
Benjamin Franklin Station
P.O. Box 14360
Washington, DC 20044
+1 (202) 514-6700
OIJA@usdoj.gov



                                                           June 14, 2024

BY EMAIL
Michelle Lo, Civil Chief
United States Attorney’s Office
Northern District of California
450 Golden Gate Avenue
Box 36055
San Francisco, CA 94102

         Re:      Request for International Judicial Assistance from the Seoul Northern District
                  Court in Seoul, Republic of Korea in the Matter of Kim Jaemo,
                  Ref No. 2024-F-1660
                  DJ Reference Number: 189-34-24-22

Dear Ms. Lo:

        The Office of International Judicial Assistance, within the Civil Division, serves as the
U.S. Central Authority for the Hague Convention on the Taking of Evidence Abroad in Civil or
Commercial Matters (“Hague Evidence Convention”). 28 C.F.R. § 0.49. Pursuant to that
Convention, we have received the above-captioned Letter of Request seeking evidence in a civil
matter pending in South Korea. We are referring this Request to you for handling. See United
States Attorney Manual, § 4-1.325. Within fifteen days, please provide us with contact
information for the individual assigned to handle this matter.

       In its Request, the Korean Court requested we obtain evidence in the form of electronic
records from Google, a witness located in Mountain View, California. Specifically, the Court
requests user identification information associated with three YouTube accounts. Please see
enclosures for additional information regarding the evidence to be retrieved from the witness.

         There are instructions and frequently asked questions for the execution of Letters of
Request on our website at: http://dojnet.doj.gov/civil/ofl/index.html. We urge you to review
all of these materials before executing this referral. Before issuing a subpoena to compel
testimony, we encourage you to contact the witness, advise her of the nature of the request, and
ascertain whether she will agree to furnish the responses voluntarily. In the absence of voluntary
compliance, the testimony can be compelled by your office pursuant to 28 U.S.C. § 1782. If
your office will incur an expense for which you intend to seek reimbursement from the
Requesting Authority, you must inform our office before you incur the expense so we can



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seek assurance from the Requesting Authority to proceed. Failure to do so may result in
the Requesting Authority’s refusal to reimburse your office for the expense.

        Article 9 of the Hague Evidence Convention requires that requests for evidence be
executed “expeditiously.” Accordingly, we urge that your office handle this matter as quickly as
possible. Given the increasing number of evidence requests that United States litigants send
abroad pursuant to the Hague Evidence Convention, often with short discovery deadlines,
expeditious handling of evidence requests by the United States may, as a matter of reciprocity,
encourage similar treatment by foreign authorities. We anticipate this Request can be completed
within ninety days. If additional time is needed to complete the Request, please provide us a
status report by the ninetieth day and every two weeks thereafter.

        After you have executed this Request, please return all documents sent with the Request
and any original documents obtained through the execution of this Request to us so that we may
return them to the foreign court. We would also appreciate receiving copies of any pleadings or
motions that have been filed by your office in this case.

       If you have any questions, please contact us at OIJA@usdoj.gov or 202-514-6700.

       Thank you in advance for your cooperation and assistance in this matter.

                                        Very truly yours,




                                   KRYSTA M. STANFORD
                                       Trial Attorney

Enclosures




                                              -2-

                                                                                             002
                                         .
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                          NATIONAL COURT ADMINISTRATION
                                REPUBLIC OF KOREA
                 219 SEOCHO-DAERO, SEOCHO-GU, SEOUL, KOREA, 06590
                        Tel: 82-2-3480-1734, Fax: 82-2-533-2824

                                                                       May. 13, 2024
                                                                 Our Ref: 2024-F-1660
CENTRAL AUTHORITY FOR USA
Office of International Judicial Assistance
U.S. Department of Justice
1100 L Street, NW, Room 8102
Washington, D.C. 20005
United States of America


To whom it may concern,

The National Court Administration of the Republic of Korea presents its
compliments to the U.S. Department of Justice and has the honour to
transmit a request seeking assistance for taking of evidence under the
Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in
Civ,1 or Commercial Matters.

Please send all documentation concerning execution of the abovementioned
request directly to the National Court Administration to the following
address :
                             National Court Administration
                             (Attn: Director of International Affairs)
                             219 Seocho-Daero, Seocho-Gu,
                             Seoul    06590
                             REPUBLIC OF KOREA


 Yours sincerely,




KIM Eun Sil
Director of International Affairs                                        CIV 189-34-24-22
National Court Administration
                                                                                        003
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                                                                   006
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                                                                   011
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                                                                   012
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                                                                   014
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                Exhibit B
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 1 ISMAIL J. RAMSEY (CABN 189820)
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 2 PAMELA T. JOHANN (CABN 145558)
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              E-mail: emmet.ong@usdoj.gov
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     Attorneys for the UNITED STATES OF AMERICA
 9

10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                             SAN JOSE DIVISION

13
     IN RE:                               ) Case No.
14                                        )
                                          )
15   REQUEST FOR INTERNATIONAL JUDICIAL )
     ASSISTANCE FROM THE SEOUL NORTHERN )
16   DISTRICT COURT IN SEOUL, REPUBLIC OF ) COMMISSIONER’S SUBPOENA
     KOREA IN MATTER OF KIM JAEMO         )
17                                        )
                                          )
18                                        )
                                          )
19

20
              To:    Google LLC
21                   1600 Amphitheatre Parkway
                     Attn: Legal Dept.
22                   Mountain View, CA 94043
23

24
              I, Emmet P. Ong, an Assistant United States Attorney for the Northern District of California,
25
     acting under the authority of Title 28, United States Code, Section 1782, for the purpose of rendering
26
     assistance to the Republic of Korea, command that you provide to me evidence for use in the civil action
27
     in the Seoul Northern District Court in Seoul, Republic of Korea (“Korea Court”), captioned Matter of
28
     COMMISSIONER’S SUBPOENA
     NO.                                              1
            Case 5:24-mc-80237-EJD Document 1-2 Filed 09/18/24 Page 21 of 25




 1 Kim Jaemo, No. 2023KASO363902 (Foreign Reference No. 2024-F-1660), said evidence being:

 2
            About the owners of the account [@hiayun9341, @siukim3096, @ronsanders] on
 3          YouTube,
 4
            1) Personal information entered at the time of registration (name, resident registration
 5          number, address, email, contact information)

 6          2) The phone number used to verify their YouTube channel
 7
                                                *       *      *
 8
            By no later than __________, 2024, you are commanded to provide to me a statement (in
 9
     writing) responsive to the Korea Court’s request either by e-mail at emmet.ong@usdoj.gov (preferred)
10
     or by mail at the following address:
11
            Emmet P. Ong
12          Assistant United States Attorney
            United States Attorney’s Office
13
            1301 Clay Street, Suite 340S
14          Oakland, California 94612-5217

15          Attached as Exhibit A to this subpoena is the text of Federal Rule of Civil Procedure 45(d) and

16 (e), which sets forth your rights and responsibilities in responding to this subpoena. You may be

17 deemed guilty of contempt and liable for penalties under the law if you fail to provide the requested

18 evidence.

19          If you have any questions regarding the contents of this request or the methods by which you

20 may comply with the subpoena, please contact me by phone at (510) 637-3929 or by e-mail at

21 emmet.ong@usdoj.gov.

22

23 DATED: ____, 2024

24
                                                         EMMET P. ONG, Commissioner
25

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28
     COMMISSIONER’S SUBPOENA
     NO.                                            2
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 1                               Exhibit A – Text of Fed. R. Civ. P. 45(d) and (e)

 2

 3 (d) Protecting a Person Subject to a Subpoena; Enforcement.

 4          (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing

 5 and serving a subpoena must take reasonable steps to avoid imposing undue burden or expense on a

 6 person subject to the subpoena. The court for the district where compliance is required must enforce this

 7 duty and impose an appropriate sanction—which may include lost earnings and reasonable attorney’s

 8 fees—on a party or attorney who fails to comply.

 9          (2) Command to Produce Materials or Permit Inspection.

10                  (A) Appearance Not Required. A person commanded to produce documents,

11          electronically stored information, or tangible things, or to permit the inspection of premises, need

12          not appear in person at the place of production or inspection unless also commanded to appear

13          for a deposition, hearing, or trial.

14                  (B) Objections. A person commanded to produce documents or tangible things or to

15          permit inspection may serve on the party or attorney designated in the subpoena a written

16          objection to inspecting, copying, testing, or sampling any or all of the materials or to inspecting

17          the premises—or to producing electronically stored information in the form or forms requested.

18          The objection must be served before the earlier of the time specified for compliance or 14 days

19          after the subpoena is served. If an objection is made, the following rules apply:

20                          (i) At any time, on notice to the commanded person, the serving party may move

21                  the court for the district where compliance is required for an order compelling production

22                  or inspection.

23                          (ii) These acts may be required only as directed in the order, and the order must

24                  protect a person who is neither a party nor a party’s officer from significant expense

25                  resulting from compliance.

26          (3) Quashing or Modifying a Subpoena.

27                  (A) When Required. On timely motion, the court for the district where compliance is

28
     COMMISSIONER’S SUBPOENA
     NO.                                              3
           Case 5:24-mc-80237-EJD Document 1-2 Filed 09/18/24 Page 23 of 25




 1         required must quash or modify a subpoena that:

 2                         (i) fails to allow a reasonable time to comply;

 3                         (ii) requires a person to comply beyond the geographical limits specified in Rule

 4                45(c);

 5                         (iii) requires disclosure of privileged or other protected matter, if no exception or

 6                waiver applies; or

 7                         (iv) subjects a person to undue burden.

 8                (B) When Permitted. To protect a person subject to or affected by a subpoena, the court

 9         for the district where compliance is required may, on motion, quash or modify the subpoena if it

10         requires:

11                         (i) disclosing a trade secret or other confidential research, development, or

12                commercial information; or

13                         (ii) disclosing an unretained expert’s opinion or information that does not describe

14                specific occurrences in dispute and results from the expert’s study that was not requested

15                by a party.

16                (C) Specifying Conditions as an Alternative. In the circumstances described in Rule

17         45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order appearance or

18         production under specified conditions if the serving party:

19                         (i) shows a substantial need for the testimony or material that cannot be otherwise

20                met without undue hardship; and

21                         (ii) ensures that the subpoenaed person will be reasonably compensated.

22 (e) Duties in Responding to a Subpoena.

23         (1) Producing Documents or Electronically Stored Information. These procedures apply to

24 producing documents or electronically stored information:

25                (A) Documents. A person responding to a subpoena to produce documents must produce

26         them as they are kept in the ordinary course of business or must organize and label them to

27         correspond to the categories in the demand.

28
     COMMISSIONER’S SUBPOENA
     NO.                                              4
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 1               (B) Form for Producing Electronically Stored Information Not Specified. If a subpoena

 2        does not specify a form for producing electronically stored information, the person responding

 3        must produce it in a form or forms in which it is ordinarily maintained or in a reasonably usable

 4        form or forms.

 5               (C) Electronically Stored Information Produced in Only One Form. The person

 6        responding need not produce the same electronically stored information in more than one form.

 7               (D) Inaccessible Electronically Stored Information. The person responding need not

 8        provide discovery of electronically stored information from sources that the person identifies as

 9        not reasonably accessible because of undue burden or cost. On motion to compel discovery or for

10        a protective order, the person responding must show that the information is not reasonably

11        accessible because of undue burden or cost. If that showing is made, the court may nonetheless

12        order discovery from such sources if the requesting party shows good cause, considering the

13        limitations of Rule 26(b)(2)(C). The court may specify conditions for the discovery.

14        (2) Claiming Privilege or Protection.

15               (A) Information Withheld. A person withholding subpoenaed information under a claim

16        that it is privileged or subject to protection as trial-preparation material must:

17                         (i) expressly make the claim; and

18                         (ii) describe the nature of the withheld documents, communications, or tangible

19               things in a manner that, without revealing information itself privileged or protected, will

20               enable the parties to assess the claim.

21               (B) Information Produced. If information produced in response to a subpoena is subject

22        to a claim of privilege or of protection as trial-preparation material, the person making the claim

23        may notify any party that received the information of the claim and the basis for it. After being

24        notified, a party must promptly return, sequester, or destroy the specified information and any

25        copies it has; must not use or disclose the information until the claim is resolved; must take

26        reasonable steps to retrieve the information if the party disclosed it before being notified; and

27        may promptly present the information under seal to the court for the district where compliance is

28
     COMMISSIONER’S SUBPOENA
     NO.                                             5
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 1        required for a determination of the claim. The person who produced the information must

 2        preserve the information until the claim is resolved.

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     COMMISSIONER’S SUBPOENA
     NO.                                           6
